           Case 2:07-cr-00056-LKK Document 47 Filed 08/22/07 Page 1 of 1


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 6   KELVIN BANISTER
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,       ) No. 2:07-cr-056 LKK
10                                   )
                    Plaintiff,       )
11                                   ) ORDER EXCLUDING TIME
          v.                         )
12                                   ) Judge: Hon. Lawrence K. Karlton
     KELVIN BANISTER, et.al.         )           (In Chambers)
13                                   )
                    Defendants.      )
14   _______________________________ )
15             Following a status conference on August 14, 2007, the court
16   granted defendants’ unopposed request for a continuance of the status
17   conference until September 11, 2007, at 9:30 a.m., in order to permit
18   further discussion of potential terms of a plea agreement, and orally
19   excluded time under the Speedy Trial Act.       As was agreed to by the
20   parties, time for trial under the Speedy Trial Act is excluded between
21   August 14, 2007, and September 11, 2007, pursuant to 18 U.S.C. §
22   3161(h)(8)(A) & (B)(iv), Local Code T-4.
23             IT IS SO ORDERED.
24
                                 By the Court,
25
26
     Dated: August 21, 2007
27
28
